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 1   Philip Cozens, State Bar Number 84051
 2   Attorney at Law
 3   1007 Seventh Street, Suite 500
 4   Sacramento, CA 95814
 5
 6   Telephone: (916) 443-1504
 7   Fax: (916) 443-1511
 8   Email: pcozens@aol.com
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10   Attorney for Defendant John Young
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13
14                        IN THE UNITED STATES DISTRICT COURT
15
16                     FOR THE EASTERN DISTRICT OF CALIFORNIA
17
18   UNITED STATES OF AMERICA,        )                Case No. 2:13-cr-0144 JAM
19                                    )
20              Plaintiff,            )                DEFENDANT YOUNG’S
21                                    )                WAIVER OF APPEARANCE
22              v.                    )                .
23                                    )
24   JOHN YOUNG, et al.               )
25                                    )
26              Defendants.           )
27   _________________________________)

28          Pursuant to Rule 43 and Rule 10 of the Federal Rules of Criminal Procedure,
29   the defendant, John Young, hereby waives the right to be present in person in open court
30   upon the hearing of any motion or other proceeding in this case, including arraignment,
31   when the case is set for trial, when a continuance is ordered, when time is excluded under
32   the Speedy Trial Act, and when any other action is taken by the Court before or after
33   trial, except upon trial, plea, impanelment of jury and imposition of sentence. Defendant
34   hereby requests the Court to proceed during every absence of his which the Court may
35   permit pursuant to this waiver; agrees that his interests will be deemed represented at all
36   time by the presence of his attorney, Philip Cozens, the same as if defendant were


     WAIVER OF PERSONAL APPEARANCE PURSUANT TO RULE 43, FEDERAL RULES OF CRIMINAL PROCEDURE
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 1   personally present; and further agrees to be present in person in court ready for trial on
 2   any day which the Court may fix in his absence.

 3          Defendant further acknowledges that he has been informed of his rights under
 4   Title 18 U.S.C. §§3161-3174 (Speedy Trial Act), and authorizes his attorney to set times
 5   and delays under the Act without defendant being present.

 6
 7   DATED: October 12, 2013
 8                                                                  /s/
 9                                                            JOHN YOUNG
10                                                            Defendant
11
12
13   DATED: October 12, 2013
14
15                                                                   /s/
16                                                            PHILIP COZENS
17                                                            Attorney for Defendant
18                                                            JOHN YOUNG
19
20
21   IT IS SO ORDERED
22
23   DATED: 10/15/2013                                 /s/ John A. Mendez_____
24                                                     John A. Mendez
25                                                     U.S. District Court Judge
26
27




     WAIVER OF PERSONAL APPEARANCE PURSUANT TO RULE 43, FEDERAL RULES OF CRIMINAL PROCEDURE
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